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 12th May 2010


 Honourable Robert Menendez
 U.S. Senator
 528 Senate Hart Office Building
 Washington, DC 20510
 United States of America


 Dear Sir

 RE:    PROPOSAL TO AMEND THE OIL POLLUTION ACT 1990 (OPA 90) AND
        THE INTERNAL REVENUE CODE OF 1986

 Executive Summary

 The energy insurance market has limited financial capacity for pollution. What
 protection it can offer, sees many terms and conditions contained in the language of
 the policies issued. These limitations can range from whether a policy covers
 pollution originating from a reservoir, the absence of a definition for environmental
 damage, the sharing of limits with other heads of claims, to whether there is
 negligence on the part of the entity making the claim.

 Insurers’ ability to issue an insurance certificate to provide a company with its
 evidence of financial responsibility under OPA 90 is similarly limited. Our current
 estimates point to a maximum insurance financial capacity of approximately US$250
 million for this exposure, with a further US$1.5 billion subject to the exclusions
 mentioned above.

 We detail below many of the areas that need to be considered carefully in this
 assessment. It is quite clear to us that the ability to transfer any increased risk to the
 insurance market is very constrained. The extent to which oil companies, other than
 the super majors, will be able to provide alternative security, must be questionable.

 About INDECS

 INDECS is an independent insurance consultancy with over 20 years’ experience
 working across more than thirty countries including the USA. We assist global
 businesses to achieve a more effective insurance and risk management strategy.
 INDECS does not sell insurance, we are not a broker, but provide independent
 advice to our clients on their insurance and risk management needs.

 The Proposed Bill

 We understand that two bills have been drafted, in the wake of the Deepwater
 Horizon catastrophe:

 1.     To amend the limits of liability for offshore facilities under OPA 90 from
        US$75 million to US$10 billion
 2.     To remove the limit of US$1 billion expenditures from the Oil Spill Liability
        Trust Fund, and to permit advances to be made to the Fund
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 Current Insurance Protection

 Under OPA 90, holders of leases or permits for offshore facilities are liable for up to
 US$ 75 million per spill plus removal costs.

 Under Section 1016 the holder was initially required to provide evidence of financial
 responsibility of between US$10 million and US$35 million depending on whether the
 facility is located seaward or landward of the seaward boundary of the State. This
 has subsequently increased to the maximum allowed by the act of US$150 million.

 There are various methods of evidencing financial responsibility including surety
 bonds, guarantees, letters of credit and self insurance, but the most common and the
 one that is most commercially available to all is by means of an insurance certificate.
 The certificate issued must identify a limit not less than that required under Section
 1016.

 While there are certain defences under OPA 90, insurers are put in the position of
 being a guarantor and may not have the ability to rely on the normal general
 conditions of the policy. Some insurers may also consider that it imposes a more
 “strict liability” on the insured, and, moreover, enables claims to be made directly
 against the insurer in certain circumstances. They therefore treat OPA certification
 distinctly from other insurance that may be available for this type of risk. The potential
 capacity for this type of insurance, which is the broadest available specifically
 focusing on OPA obligations and liabilities, is approximately US$150 to US$250
 million.

 Outside the realms of strict liability and OPA, an insured will be able to obtain
 coverage for sudden and accidental seepage and pollution by way of its Operators
 Extra Expense (OEE) and Excess Liability insurances. OEE coverage provides a
 combined single limit for well control, well redrilling and sudden and accidental
 seepage and pollution and clean-up. Therefore pollution liability and clean-up cost is
 subject to the apportionment of this combined single limit over respective risks. In
 practice the limit would be made available first for control measures (i.e. hiring in
 specialist well control experts and, if necessary, relief well drilling), with any balance
 of the limit then being reserved for redrilling and pollution. It is possible to prioritise
 the use of the limit for compliance with OPA Financial Responsibility provisions, but
 this would be impractical in relation to the urgency by which oil companies will need
 to address the well control situation.

 We consider that the OEE policy provides the widest cover and is most “user friendly”
 to oil companies. The pollution element of the cover responds to costs which the
 insured company is obligated to pay by law or under the terms of the lease/license
 for the cost of remedial measures or as damages in compensation for third party
 property damage and third party injury claims. In respect of clean-up and
 containment, or attempt thereat, the policy pays such costs, including where incurred
 to divert pollution from shore, and is not on a “liability” basis. It should be noted that
 there is no definition of environmental damage – claims are recoverable to the extent
 of damages for third party bodily injury and loss of or damage to, or loss of use of
 tangible property. This coverage can therefore respond on a “strict liability” basis,
 where the law or license agreement specifies that such remedial costs or
 compensation is payable if emanating from the insured’s facilities, irrespective of
 negligence. This contrasts starkly with the coverage available under most Excess
 Liability policies.
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 Excess Liability insurance responds to all legal liabilities incurred. Sudden and
 accidental pollution would be included in any limit provided. In respect of pollution
 from wells the limit available under these policies sits excess of the OEE policy
 referred to above (but is subject to its own policy form insuring conditions which are
 not as wide as OEE policies). In respect of pollution from hydrocarbons stored or
 being produced from or through facilities such as fixed and floating platforms and
 pipelines, the limit is from “the ground-up”, or in excess of a specific local general
 liability policy.

 Excess Liability Policy forms vary but the market “standard” coverage offers quite
 limited pollution cover. Some actually specifically exclude pollution from wells.
 Basically pollution liabilities are excluded from all policies, but within the exclusion is
 a limited “buy-back”, which requires that the pollution event is sudden, accidental and
 unintended and subject to strict discovery and reporting requirements. However, and
 significantly, the cover excludes “…. actual or alleged liability to evaluate, monitor,
 control, remove, nullify and/or clean-up seeping, polluting or contaminating
 substances to the extent such liability arises solely from any obligations imposed by
 any statute, rule, ordinance, regulation or imposed by contract”.

 We regard this wording as too draconian and would always counsel oil companies to
 include a specific “pollution endorsement” that overrides this phrasing and would
 provide legal and statutory liability coverage, including costs incurred under lease
 block obligations for removal. We think this distinction in cover is important as it will
 impact capacity. Our figure below of US$1 to US$ 1.5 billion is based upon insurers
 subscribing to the standard market cover. If an alternative wording is utilised, or the
 pollution endorsement used, it could have the effect of reducing capacity by about 25
 to 35%.

 As with the OEE policy, the coverage is geared to damages for compensation in
 respect of third party bodily injury and third party property loss or damage or loss of
 use. There is similarly no concept of “environmental damage” expressed in the
 policy.

 Insurance Capacity

 The immediate effect of the Deepwater Horizon loss is that capacity will, for a time,
 be fluid. Most insurers had not factored in to their risk aggregations that the net is
 spread very wide indeed in respect of responsible parties under OPA. They are now
 seeing the implications of multi party actions against operators, drilling contractors,
 cementing engineers and their various sub-contractors arising out of a single incident
 such as the “Deepwater Horizon” loss. This is because the insurance limits are
 available to each separate party, so will stack up if three different entities are sued.

 In this context the lease block holders constitute one entity (their insurance policies
 may be separate covering their respective equity interests, but the capacity available
 is assessed upon 100% interest).

 Inevitably the recent loss has increased the demand for higher limits, and has
 consequently affected the overall aggregate exposures to insurers. This will likely
 reduce the available limits in the immediate future. At least one insurer has let it be
 known that its capacity has reduced. Others are reviewing their positions and it is
 most likely that June renewals will be subject to some reduction in overall capacity.
 This could be between 25 and 30% reduction, affecting all above policies, except
 Protection and Indemnity entries. INDECS has close relationships with the Energy
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 Insurance Market including its insurers and brokers. Based on our knowledge and
 these relationships we would opine that the following represents the maximum per
 occurrence capacity in this market currently:

       Operators’ Extra Expense (OEE)

       The available global market capacity for the OEE cover is between US$500
       million and US$750 million per event on 100% basis. This means that the
       total limit purchased is shared out between the co-owners of the lease block
       (the licensees) according to their equity interest in the venture (as per the
       Joint Operating Agreement).

       In addition to this capacity, oil companies who are members of the mutual, Oil
       Insurance Ltd (OIL), Bermuda, (which includes a number of US based E&P
       companies) can claim up to a further US$ 250 million for each companies’
       equity interest, limited to US$ 750 million per event, but this limit is also
       applied on a combined single limit basis, inclusive not only of control of well
       cost and redrilling, but also property damage and wreck removal.

       Excess Liabilities

       The global commercial market limits available are between US$1 billion and
       US$1.5 billion per event on 100% basis (meaning that the limit is effectively
       reduced to reflect each of the oil companies’ equity interests). This would
       include capacity available under any specific local general liability policy
       (normally limited to USD50m per event). This total would be inclusive of
       capacity from the Bermuda reinsurance market and specifically from Oil
       Casualty Insurance Ltd (OCIL), which is a sister organisation to OIL. This limit
       operates on an Ultimate Nett Loss basis, meaning that it must also respond to
       injuries and fatalities to third parties (but not employees) and to third party
       property damage and consequential financial loss.

       One final issue to consider for the commercial market is that In the event that
       the pollution arises from a named hurricane there would be a sub-limit agreed
       in the policy, which may not be more than US$200 million per oil company,
       and this would be inclusive of all insurable exposures (i.e. property damage,
       control of well, redrilling, wreck removal and pollution).

       Protection and Indemnity Clubs (P&I)

       One further area that merits comment is P&I, which provides cover in respect
       of pollution from mobile drilling units, heavy-lift vessels, pipelaying vessels
       and, to the extent that they may ultimately be more widely used in the Gulf of
       Mexico, Floating Production, Storage and Offtake units (FPSOs).
       The limit purchased is generally between US$ 300million and US$ 500
       million, but US$ 1 billion per event is theoretically available. However, most
       US drilling contractors are not insured by the P and I Clubs. US drilling
       contractors generally rely upon commercial marine liability insurers, whose
       capacity would be limited to between US$ 500 million and US$ 750 million per
       event referred to above.
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 Effects of increasing the OPA 90 limits

 In conclusion, if the intention is to increase the limit required under OPA90 to US$10
 billion and also the required evidence of financial responsibility to something similar,
 then quite simply the energy insurance market will no longer be an option. Its
 capacity lies far below this limit and even then has a number of restrictions contained
 in it which we have discussed above.

 Companies, with the exception of super majors and foreign state owned companies,
 operating in the United States are highly unlikely to be able to provide any alternative
 method of financial responsibility such as bonds and lines of credit. The cost of these
 methods or ability to self insure these risks will far exceed their capabilities,
 preventing their management from fulfilling their fiduciary liability and presenting a
 barrier to acquiring new or even servicing existing permits in the future.

 If we have understood the proposals correctly, then it would appear to us that the
 proposed Bill will not act as “Big Oil Bailout Prevention Liability Act of 2010”, rather
 making it impossible for anyone other than “Big Oil” to operate.


 Yours sincerely,




 Paul King
 Director

 CC:    David Sharp, INDECS

        Honourable Barbara Boxer
        Chairman Senate Committee on Environment & Public Works
        410 Dirksen Senate Office Building
        Washington, DC 20510

        Honourable James M. Inhofe
        Ranking Member
        Senate Committee on Environment & Public Works
        456 Dirksen Senate Office Building
        Washington, DC 20510

        Honourable Jeff Bingaman
        Chairman Senate Committee on Energy & Natural Resources
        304 Dirksen Senate Office Building
        Washington, DC 20510

        Honourable Lisa Murkowski
        Ranking Member
        Senate Committee on Energy & Natural Resources
        304 Dirksen Senate Office Building
        Washington, DC 20510
